UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

x Case No, CV-09-974
INTELLIGENT DIGITAL SYSTEMS, LLC, RUSS (LDW/ETB)

& RUSS PC DEFINED BENEFIT PENSION PLAN

and JAY EDMOND RUSS,

Plaintiffs,
STIPULATION
-against-

VISUAL MANAGEMENT SYSTEMS, INC., JASON
GONZALEZ, HOWARD HERMAN, ROBERT MOE,
MICHAEL RYAN, COL. JACK JACOBS, Ret. and
MARTY McFEELY,

Defendants.
x
IT IS HEREBY STIPULATED AND AGREED by and between the attorneys for

Plaintiffs and for Defendants, Jason Gonzalez, Robert Moe, Michael Ryan, Col. Jack Jacobs,
Ret. and Marty McFeely that the time of said Defendants to move against, answer or otherwise
plead with respect to the Complaint herein, be and it hereby is extended to May 15, 2009.

Defendants agree not to i ose any defense based on improper service of process.

Dated: dow, New York

CERTIL| AN BALIN ADLER & HYMAN, LLP
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(Ira iit Esq. (IL-1469) Martin P. Unger (MU-9327)\
“Counsel for Plaintiffs Attorneys for Defendants ~
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(212) 205-6023

SO ORDERED:

USDJ

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